          Case 1:20-cv-05124-LGS Document 9 Filed 10/15/20 Page 1 of 3

                                                                    USDC SDNY
                                                                    DOCUMENT
UNITED STATES DISTRICT COURT
                                                                    ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
                                                                    DOC #:
                                                                    DATE FILED: October 15, 2020
TRACY ANTHONY


                               Plaintiff(s),                      20 Civ. 5124 (LGS)

                       -against-
                                                               ORDER OF REFERENCE
ANDREW M. SAUL, COMM. OF SOCIAL SEC.
                                                                         TO A
                               Defendant(s),                     MAGISTRATE JUDGE

LORNA G. SCHOFIELD, United States District Judge:

       It is hereby ORDERED that this case is referred to the Hon. Stewart D. Aaron

for a report and recommendation on any motion for judgment on the pleadings. To conserve

resources, to promote judicial efficiency, and in an effort to achieve a faster disposition of this

matter, it is hereby ORDERED that the parties must discuss whether they are willing to

consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before the assigned

Magistrate Judge.

       If both parties consent to proceed before the Magistrate Judge, counsel for the defendant

must, within two weeks of the date of this order, either mail or email directly a fully executed

Notice, Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of which is

attached to this order (and also available at http://nysd.uscourts.gov/file/forms/consent-to-

proceed-before-us-magistrate-judge). If the Court approves that form, all further proceedings

will then be conducted before the assigned Magistrate Judge rather than before me. An

information sheet on proceedings before magistrate judges is also attached to this order. Any

appeal would be taken directly to the United States Court of Appeals for the Second Circuit, as it

would be if the consent form were not signed and so ordered.
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       If either party does not consent to conducting all further proceedings before the assigned

Magistrate Judge, the parties must file a joint letter, within two weeks of the date of this order,

advising the Court that the parties do not consent, but without disclosing the identity of the

party or parties who do not consent. The parties are free to withhold consent without negative

consequences.

       SO ORDERED.

Dated: October 15, 2020
       New York, New York




                                                 2
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AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                       for the
                                                         Southern
                                                          Southern DDistrict
                                                        __________   istrictof
                                                                     District of
                                                                              ofNNew  York
                                                                                 ew Y ork
                                                                                 __________

                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )     Civil Action No.
                                                                                )
                               Defendant                                        )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                  District Judge’s signature



                                                                                                    Printed name and title

Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
      magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                             Reset
